                                              Case 13-19106                   Doc 1              Filed 05/24/13                    Page 1 of 45
B1 (Official Form 1) (04/13)
                                                United States Bankruptcy Court
                                                                                                                                                                Voluntary Petition
                                                     District of Maryland
Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
        Villa, Frank E                                                                                       Villa, Ana M
All Other Names used by the Debtor in the last 8 years                                                 All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                            (include married, maiden, and trade names):
        AKA Francisco E Villatoro
Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
(if more than one, state all):                                                                         (if more than one, state all):
        xxx-xx-7931                                                                                          xxx-xx-4462
Street Address of Debtor (No. & Street, City, and State):                                              Street Address of Joint Debtor (No. & Street, City, and State):
        743 Girard St NW                                                                                     743 Girard St NW
        Washington, DC 20001                                               ZIP CODE                          Washington, DC 20001                                                 ZIP CODE
                                                                           20001-0000                                                                                             20001-0000
County of Residence or of the Principal Place of Business:                                             County of Residence or of the Principal Place of Business:
        BALTIMORE CITY: 5111 Anthony Ave, Baltimore,                                                         BALTIMORE CITY: 5111 Anthony Ave, Baltimore,
        MD 21206                                                                                             MD 21206
Mailing Address of Debtor (if different from street address):                                          Mailing Address of Joint Debtor (if different from street address):

                                                                           ZIP CODE                                                                                               ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above): BALTIMORE                          CITY:5111 Anthony Ave Baltimore, MD 21206
                     Type of Debtor                                               Nature of Business                                       Chapter of Bankruptcy Code Under Which
                        (Form of Organization)                                               (Check one box.)                                  the Petition is Filed (Check one box)
                           (Check one box.)
        Individual (includes Joint Debtors)                                 Health Care Business                                              Chapter 7                      Chapter 15 Petition for
        See Exhibit D on page 2 of this form.                               Single Asset Real Estate as defined in 11 U.S.C. §                                               Recognition of a Foreign
                                                                                                                                              Chapter 9
                                                                            101(51B)                                                                                         Main Proceeding
        Corporation (includes LLC and LLP)                                                                                                    Chapter 11
                                                                            Railroad                                                                                         Chapter 15 Petition for
        Partnership                                                                                                                           Chapter 12
                                                                            Stockbroker                                                                                      Recognition of a Foreign
        Other (If debtor is not one of the above entities, check this                                                                         Chapter 13                     Nonmain Proceeding
                                                                            Commodity Broker
        box and state type of entity below.)
                                                                            Clearing Bank
                                                                            Other
                         Chapter 15 Debtors                                              Tax-Exempt Entity                                                   Nature of Debts
                                                                                      (Check box, if applicable.)                                             (Check one box)
 Country of debtor's center of main interests:
                                                                                                                                                Debts are primarily consumer            Debts are
                                                                                 Debtor is a tax-exempt organization under
                                                                                                                                                debts, defined in 11 U.S.C. §      primarily business
 Each country in which a foreign proceeding by, regarding, or                    Title 26 of the United States Code (the
                                                                                                                                                101(8) as "incurred by an          debts.
 against debtor is pending:                                                      Internal Revenue Code).
                                                                                                                                                individual primarily for a
                                                                                                                                                personal, family, or household
                                                                                                                                                purpose."
                                 Filing Fee (Check one box.)                                           Check one box:                Chapter 11 Debtors
    Full Filing Fee attached                                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must attach signed         Check if:
    application for the court's consideration certifying that the debtor is unable to pay fee                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or
    except in installments. Rule 1006(b). See Official Form 3A.                                        affiliates) are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three
                                                                                                       years thereafter).
                                                                                                       ------------------------------------------------------
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach signed
                                                                                                       Check all applicable boxes:
    application for the court's consideration. See Official Form 3B.
                                                                                                             A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                             in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR COURT USE ONLY

    Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution to
     unsecured creditors.
Estimated Number of Creditors

 1-49           50-99          100-199         200-999        1,000-       5001-             10,001-           25,001-         50,001-          OVER
                                                              5,000        10,000            25,000            50,000          100,000          100,000
Estimated Assets

 $0 to          $50,001 to     $100,001 to     $500,001       $1,000,001   $10,000,001       $50,000,001       $100,000,001 $500,000,001 More than
 $50,000        $100,000       $500,000        to $1          to $10       to $50            to $100           to $500      to $1 billion $1 billion
                                               million        million       million          million           million
Estimated Liabilities
                                       Case 13-19106              Doc 1         Filed 05/24/13              Page 2 of 45
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  $0 to     $50,001 to   $100,001 to   $500,001   $1,000,001   $10,000,001   $50,000,001   $100,000,001 $500,000,001 More than
  $50,000   $100,000     $500,000      to $1      to $10       to $50        to $100       to $500      to $1 billion $1 billion
                                       million    million       million      million       million
                                       Case 13-19106                  Doc 1         Filed 05/24/13               Page 3 of 45
B1 (Official Form 1) (04/13)                                                                                                                                      Page 3


Voluntary Petition                                                                      Name of Debtor(s):
(This page must be completed and filed in every case)                                         Frank E Villa
                                                                                              Ana M Villa
                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location                                                                                Case Number:                                                Date Filed:
Where Filed:       Baltimore                                                            09-16301                                                    4/10/09
Location                                                                                Case Number:                                                Date Filed:
Where Filed:
              Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: - None -                                                                Case Number:                                                Date Filed:

District:                                                                               Relationship:                                               Judge:

                                     Exhibit A                                                                               Exhibit B
                                                                                                               (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K                               whose debts are primarily consumer debts.)
and 10Q) with the Securities and Exchange Commission pursuant to Section 13             I, the attorney for the petitioner named in the foregoing petition, declare that I
or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under          have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
chapter 11.)                                                                            or 13 of title 11, United States Code, and have explained the relief available
                                                                                        under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. § 342(b).
    Exhibit A is attached and made a part of this petition.                              X /s/ Edward V. Hanlon DC Bar No                                May 8, 2013
                                                                                             Signature of Attorney for Debtor(s)                 Date

                                                                                 Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
    Yes, and Exhibit C is attached and made a part of this petition.
    No

                                                                                 Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
         Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                            Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                 preceding the date of this petition or for a longer part of such 180 days than in any other District.
                 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                 has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                 this District, or the interests of the parties will be served in regard to the relief sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                        (Check all applicable boxes.)

                 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the
                 following.)


                                    (Name of landlord that obtained judgment)

                                    (Address of landlord)

                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

                 Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
                 period after the filing of the petition.

                 Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                       Case 13-19106                 Doc 1           Filed 05/24/13                 Page 4 of 45
B1 (Official Form 1) (04/13)                                                                                                                                           Page 4

Voluntary Petition                                                                     Name of Debtor(s):
(This page must be completed and filed in every case)                                     Frank E Villa
                                                                                          Ana M Villa
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                                  Signature of a Foreign Representative
    I declare under penalty of perjury that the information provided in this
                                                                                             I declare under penalty of perjury that the information provided in this
    petition is true and correct.
                                                                                             petition is true and correct, that I am the foreign representative of a debtor in
    [If petitioner is an individual whose debts are primarily consumer debts and
                                                                                             a foreign proceeding, and that I am authorized to file this petition.
    has chosen to file under chapter 7] I am aware that I may proceed under
    chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief           (Check only one box.)
    available under each such chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States
    [If no attorney represents me and no bankruptcy petition preparer signs the                  Code. Certified copies of the documents required by 11 U.S.C. § 1515
    petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                are attached.
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                                                 chapter of title 11 specified in this petition. A certified copy of the order
    I request relief in accordance with the chapter of title 11, United States                   granting recognition of the foreign main proceeding is attached.
    Code, specified in this petition.
  X /s/ Frank E Villa
    Signature of Debtor Frank E Villa                                                    X
  X /s/ Ana M Villa                                                                           (Signature of Foreign Representative)
    Signature of Joint Debtor Ana M Villa
                                                                                              (Printed Name of Foreign Representative)
      Telephone Number (If not represented by attorney)
      May 8, 2013                                                                             Date
      Date
                            Signature of Attorney*                                              Signature of Non-Attorney Bankruptcy Petition Preparer
  X /s/ Edward V. Hanlon DC Bar No
    Signature of Attorney for Debtor(s)
      Edward V. Hanlon DC Bar No 421789                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Printed Name of Attorney for Debtor(s)                                           defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
                                                                                       have provided the debtor with a copy of this document and the notices and
      Law Office of Edward Hanlon, CHTD                                                information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if
      Firm Name                                                                        rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting
      5510 Cherrywood Lane                                                             a maximum fee for services chargeable by bankruptcy petition preparers, I have
      Suite G                                                                          given the debtor notice of the maximum amount before preparing any document
      Greenbelt, MD 20770                                                              for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                       section. Official form 19 is attached.
      Address
                    Email:bankruptcy-courts@verizon.net
      301-474-1800 Fax:240-297-0000
      Telephone Number                                                                        Printed Name and title, if any, of Bankruptcy Petition Preparer
      May 8, 2013
      Date                                                                                   Social-Security number (If the bankruptcy petition preparer is not an individual, state
                                                                                             the Social-Security number of the officer, principal, responsible person or partner of the
                                                                                             bankruptcy petition preparer.)(Required by 11 U.S.C. § 110.)
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect.
                                                                                             Address
             Signature of Debtor (Corporation/Partnership)                               X
I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of
the debtor.                                                                               Date
The debtor requests relief in accordance with the chapter of title 11, United States
Code, specified in this petition.
  X                                                                                  Signature of bankruptcy petition preparer or officer, principal, responsible
      Signature of Authorized Individual                                             person, or partner whose social security number is provided above.

      Printed Name of Authorized Individual                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                                       assisted in preparing this document unless the bankruptcy petition preparer is not
      Title of Authorized Individual                                                   an individual
      Date
                                                                                       If more than one person prepared this document, attach additional sheets
                                                                                       conforming to the appropriate official form for each person.

                                                                                       A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the
                                                                                       Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11
                                                                                       U.S.C. § 110; 18 U.S.C. § 156.
                                      Case 13-19106                    Doc 1   Filed 05/24/13   Page 5 of 45



B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                        District of Maryland
           Frank E Villa
 In re     Ana M Villa                                                                              Case No.
                                                                                Debtor(s)           Chapter    13




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                          Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:          /s/ Frank E Villa
                                                                                Frank E Villa
                                                  Date:          May 24, 2013




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                        District of Maryland
           Frank E Villa
 In re     Ana M Villa                                                                              Case No.
                                                                                Debtor(s)           Chapter    13




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                        Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:          /s/ Ana M Villa
                                                                                Ana M Villa
                                                  Date:          May 24, 2013




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                         District of Maryland
 In re          Frank E Villa,                                                                                Case No.
                Ana M Villa
                                                                                                     ,
                                                                                    Debtors                   Chapter                    13




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS                   LIABILITIES              OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes              1                  569,940.00


B - Personal Property                                     Yes              5                    10,731.00


C - Property Claimed as Exempt                            Yes              1


D - Creditors Holding Secured Claims                      Yes              1                                            565,587.00


E - Creditors Holding Unsecured                           Yes              1                                                  0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes              5                                             10,068.00
    Nonpriority Claims

G - Executory Contracts and                               Yes              1
   Unexpired Leases

H - Codebtors                                             Yes              1


I - Current Income of Individual                          Yes              1                                                                      9,081.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes              2                                                                      6,647.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                 19


                                                                    Total Assets              580,671.00


                                                                                      Total Liabilities                 575,655.00




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                                          Case 13-19106                  Doc 1         Filed 05/24/13            Page 10 of 45
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                         District of Maryland
 In re           Frank E Villa,                                                                                       Case No.
                 Ana M Villa
                                                                                                           ,
                                                                                        Debtors                       Chapter              13


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                    Amount

             Domestic Support Obligations (from Schedule E)                                                        0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                   0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

             Student Loan Obligations (from Schedule F)                                                            0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                   0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                   0.00

                                                                            TOTAL                                  0.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                         9,081.00

             Average Expenses (from Schedule J, Line 18)                                                       6,647.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                          6,544.00


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                 31,658.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                   0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                            10,068.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        41,726.00




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B6A (Official Form 6A) (12/07)


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 In re         Frank E Villa,                                                                                     Case No.
               Ana M Villa
                                                                                                      ,
                                                                                     Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                      Husband,    Current Value of
                                                                           Nature of Debtor's          Wife,     Debtor's Interest in           Amount of
               Description and Location of Property                        Interest in Property        Joint, or  Property, without            Secured Claim
                                                                                                     Community Deducting  any Secured
                                                                                                                 Claim or Exemption

5111 Anthony Ave, Baltimore, MD 21206 (only                                Fee simple                     H                  138,000.00               169,258.00
Husband on Deed and 1st mortgage) (both
Husband and Wife on the Home Equity Line of
credit)

743 Girard St NW, Washington, DC 20001                                     tenants by the entirety        J                  431,940.00               394,220.00




                                                                                                      Sub-Total >            569,940.00       (Total of this page)

                                                                                                              Total >        569,940.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Frank E Villa,                                                                                     Case No.
               Ana M Villa
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

1.    Cash on hand                                        cash                                                               J                            25.00

2.    Checking, savings or other financial                PNC checking & savings                                             H                        2,526.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  Suntrust checking                                                  W                        1,525.00
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    household goods                                                    J                           820.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    wearing apparel                                                    J                           325.00

7.    Furs and jewelry.                                   jewelry                                                            J                            10.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                             Sub-Total >            5,231.00
                                                                                                                 (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Frank E Villa,                                                                                     Case No.
               Ana M Villa
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                             Sub-Total >                  0.00
                                                                                                                 (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Frank E Villa,                                                                                     Case No.
               Ana M Villa
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    1997 Toyota 4-runner (198,000 miles) (needs 4 new                   J                       1,000.00
    other vehicles and accessories.                       tires)

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and                   8 beds, 8 tvs, 8 dressers located at 5111 Anthony                   J                       2,000.00
    supplies used in business.                            Ave, Baltimore, MD 21206 used by the renters0

                                                          two ride on lawn mowers (5 & 7 years old),                          J                       2,500.00
                                                          gardening and yard tools (shovels, rakes, blower
                                                          old) generator, small, air compressor (paid $150 6
                                                          years ago)

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.



                                                                                                                             Sub-Total >            5,500.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >         10,731.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
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HOUSEHOLD GOODS, ETC.                            Frank and Ana Villa


KITCHEN
Dishes                   $30
Pots and Pans            $50
Table and chairs (4)     $120
                         Total            $70



LIVING ROOM
Sofa                     $40
                         Total            $40

BEDROOMs
Beds (4)                 $250
Dressers (4)             $80
Tvs                      $100
Desktop w/printer        $150
Desk&chair               $30
Laptop                   $100
                         Total:           $710


                                          GRAND TOTAL = $820


WEARING APPAREL (husband)
Suits (2)                $30
Pants (12)               $25
Shirts (15)              $35
Sweaters (6)             $25
Shoes (3)                $20
Coats (2)                $30
                         Total: $165
WEARING APPAREL (Wife)
Dresses (10)             $50
Pants (10)               $30
Shirts (10)              $25
Sweaters (3)             $20
Shoes (5)                $20
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Coats (3)               $35
                                         Total $160
Jewelry
Wedding band            $10
                        Total:           $10
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 B6C (Official Form 6C) (4/13)


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  In re         Frank E Villa,                                                                                        Case No.
                Ana M Villa
                                                                                                          ,
                                                                                       Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                         Each Exemption                             Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Cash on Hand
cash                                                                      D.C. Code Ann. § 15-501(a)(3)                                 25.00                            25.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
PNC checking & savings                            D.C. Code Ann. § 15-501(a)(3)                                                     2,526.00                         2,526.00

Suntrust checking                                                         D.C. Code Ann. § 15-501(a)(3)                             1,525.00                         1,525.00

Household Goods and Furnishings
household goods                                                           D.C. Code Ann. § 15-501(a)(2)                               820.00                           820.00

Wearing Apparel
wearing apparel                                                           D.C. Code Ann. § 15-501(a)(2)                               325.00                           325.00

Furs and Jewelry
jewelry                                                                   D.C. Code Ann. § 15-501(a)(3)                                 10.00                            10.00

Automobiles, Trucks, Trailers, and Other Vehicles
1997 Toyota 4-runner (198,000 miles) (needs 4                             D.C. Code Ann. § 15-501(a)(1)                             1,000.00                         1,000.00
new tires)

Machinery, Fixtures, Equipment and Supplies Used in Business
8 beds, 8 tvs, 8 dressers located at 5111        D.C. Code Ann. § 15-501(a)(3)                                                      2,000.00                         2,000.00
Anthony Ave, Baltimore, MD 21206 used by the
renters0

two ride on lawn mowers (5 & 7 years old),                                D.C. Code Ann. § 15-501(a)(4)                             2,500.00                         2,500.00
gardening and yard tools (shovels, rakes,
blower old) generator, small, air compressor
(paid $150 6 years ago)




                                                                                                          Total:                  10,731.00                        10,731.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re         Frank E Villa,                                                                                            Case No.
                Ana M Villa
                                                                                                            ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                          SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxx0759                                           Opened 1/03/08 Last Active 1/30/13                         E
                                                                                                                           D

Bank Of America, N.A.                                           743 Girard St NW, Washington, DC
4161 Piedmont Pkwy                                              20001
Greensboro, NC 27410
                                                            W

                                                                Value $                            431,900.00                           395,929.00                         0.00
Account No. xxxxxxxxxx5799                                      Opened 2/29/08 Last Active 8/01/12

Bank Of America, N.A.                                           Home Equity Line
4161 Piedmont Pkwy
                                                              5111 Anthony Ave, Baltimore, MD
Greensboro, NC 27410
                                                            W Husband is not personally liable on this
                                                              note due to husband's prior Chapter 7
                                                                Value $                            138,000.00                             81,909.00                31,658.00
Account No. xxxxxxxxx5103                                     Opened 7/26/05 Last Active 1/15/13
                                                              1st Mortgage
Chase                                                         Husband is not personally liable on this
Po Box 24696                                                  note due to husband's prior Chapter 7.
                                                              Wife did not sign the Note for the 1st
Columbus, OH 43224
                                                            - mortgage on 5111 Anthony Ave,
                                                              Baltimore, MD 21206
                                                                Value $                            138,000.00                             87,749.00                        0.00
Account No.




                                                                Value $
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                      565,587.00                 31,658.00
                                                                                                         (Total of this page)
                                                                                                                     Total              565,587.00                 31,658.00
                                                                                           (Report on Summary of Schedules)

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 In re         Frank E Villa,                                                                                                     Case No.
               Ana M Villa
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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  In re         Frank E Villa,                                                                                           Case No.
                Ana M Villa
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. -xxxxxxxxxxxx8583                                                 Opened 1/05/06 Last Active 9/05/08                            T   T
                                                                                                                                                E
                                                                              Discharged in Husband's prior Chapter 7                           D

Amex
Po Box 297871                                                             H
Fort Lauderdale, FL 33329

                                                                                                                                                                             0.00
Account No. xxxxxxxxxxxx8743                                                  Opened 11/18/08 Last Active 1/16/13

Bank Of America
Po Box 982235                                                             W
El Paso, TX 79998

                                                                                                                                                                       2,487.00
Account No. xxxx0576                                                          Opened 9/10/00 Last Active 7/01/04
                                                                              Automobile Discharged in Husband's prior
Charter One Auto Finan                                                        Chapter 7
228 E Main St                                                             H
Rochester, NY 14604

                                                                                                                                                                             0.00
Account No. xxxxxxxxxxxx7007                                                  Opened 9/09/05 Last Active 3/01/09

Chase
Po Box 15298                                                              W
Wilmington, DE 19850

                                                                                                                                                                             0.00

                                                                                                                                        Subtotal
 4
_____ continuation sheets attached                                                                                                                                     2,487.00
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Frank E Villa,                                                                                         Case No.
                Ana M Villa
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                     B                                                                I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxx2978                                                        Opened 3/12/00 Last Active 5/01/05                          E
                                                                              CreditCard Discharged in Husband's prior                    D

Citi-Bp Oil                                                                   Chapter 7
Po Box 6497                                                               H
Sioux Falls, SD 57117

                                                                                                                                                                    0.00
Account No. xxxxx0924                                                         Opened 1/13/07 Last Active 12/16/07
                                                                              Mortgage
Citimortgage Inc
Po Box 9438                                                               J
Gaithersburg, MD 20898

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx1539                                                  Opened 7/18/06
                                                                              ChargeAccount
Comenity Bank/Dressbrn
Po Box 182789                                                             W
Columbus, OH 43218

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx5479                                                  Opened 6/02/00 Last Active 7/21/04

Discover Fin Svcs Llc
Po Box 15316                                                              W
Wilmington, DE 19850

                                                                                                                                                                    0.00
Account No. xxxx8769                                                          Opened 8/06/12 Last Active 6/01/11
                                                                              Collection Sprint
Enhanced Recovery Co L
8014 Bayberry Rd                                                          H
Jacksonville, FL 32256

                                                                                                                                                                826.00

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                                826.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Frank E Villa,                                                                                         Case No.
                Ana M Villa
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                     B                                                                I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxxxxx0092                                                     Opened 8/06/02 Last Active 3/14/05                          E
                                                                              Mortgage                                                    D

First Horizon Home Loa
4000 Horizon Way                                                          J
Irving, TX 75063

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx4256                                                  Opened 9/08/05 Last Active 10/09/08
                                                                              ChargeAccount
Gecrb/Gap
Po Box 965005                                                             H
Orlando, FL 32896

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx5154                                                  Opened 9/07/05 Last Active 5/12/06

Gecrb/Jc Penney Dc
Po Box 965007                                                             H
Orlando, FL 32896

                                                                                                                                                                    0.00
Account No. xxxxxxxx0044                                                      Opened 6/18/01 Last Active 11/16/01
                                                                              ChargeAccount Discharged in Husband's prior
Gecrb/Jcp                                                                     Chapter 7
Po Box 984100                                                             H
El Paso, TX 79998

                                                                                                                                                             Unknown
Account No. xxxxxxxxxxxx6558                                                  Opened 5/19/00 Last Active 8/01/04
                                                                              ChargeAccount
Gecrb/Sams Club
Po Box 965005                                                             W
Orlando, FL 32896

                                                                                                                                                                    0.00

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                                    0.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Frank E Villa,                                                                                         Case No.
                Ana M Villa
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                     B                                                                I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxxxxxxxx2414                                                  Opened 5/12/05 Last Active 8/17/06                          E
                                                                              ChargeAccount Discharged in Husband's prior                 D

Gecrb/Whitehall                                                               Chapter 7
Po Box 981439                                                             H
El Paso, TX 79998

                                                                                                                                                                    0.00
Account No. xxxxxxxxx4788                                                     Opened 3/28/05 Last Active 6/06/05
                                                                              Mortgage
Homeward Residential
1525 S Belt Line Rd                                                       J
Coppell, TX 75019

                                                                                                                                                             Unknown
Account No. xxxxxxxxxxxx3942                                                  Opened 5/29/00 Last Active 11/01/08
                                                                              Discharged in Husband's prior Chapter 7
Hsbc Nv
Po Box 5253                                                               H
Carol Stream, IL 60197

                                                                                                                                                                    0.00
Account No. xx2747                                                            Opened 12/02/05 Last Active 12/22/06
                                                                              InstallmentSalesContract
Lexicon
640 S. San Vicente                                                        W
Los Angeles, CA 90048

                                                                                                                                                                    0.00
Account No. xxxxx8563                                                         Opened 11/01/12 Last Active 8/01/12
                                                                              GovernmentSecuredDirectLoan Emc
Nco Fin /99                                                                   Emergency P
Po Box 41466                                                              H
Philadelphia, PA 19101

                                                                                                                                                                396.00

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                                396.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Frank E Villa,                                                                                           Case No.
                Ana M Villa
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxxxxxxxx9518                                                  Opened 7/14/04 Last Active 4/04/05                             E
                                                                              Mortgage                                                       D

Pncbank
2730 Liberty Ave                                                          J
Pittsburgh, PA 15222

                                                                                                                                                                       0.00
Account No. xxxxxxx0998                                                       Opened 4/07/01 Last Active 4/27/05
                                                                              Discharged in Husband's prior Chapter 7
Riggs National Bank
1120 Vermont Ave Nw                                                       H
Washington, DC 20005

                                                                                                                                                                       0.00
Account No. xxxxxxxxxxxx4058                                                  Opened 3/08/00 Last Active 1/16/13
                                                                              ChargeAccount
Sears/Cbna
Po Box 6189                                                               W
Sioux Falls, SD 57117

                                                                                                                                                                 6,359.00
Account No.




Account No.




           4
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                 6,359.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                10,068.00


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B6G (Official Form 6G) (12/07)


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 In re             Frank E Villa,                                                                              Case No.
                   Ana M Villa
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Frank E Villa,                                                                          Case No.
                Ana M Villa
                                                                                              ,
                                                                                  Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
          Frank E Villa
 In re    Ana M Villa                                                                                   Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         12
                                             Daughter                                                    5
                                             Son                                                         9
Employment:                                           DEBTOR                                                   SPOUSE
Occupation                          driver                                                   cleaner
Name of Employer                    BATES TRUCKING COMPANY INC                               Red Coats, Inc
How long employed                   2 years                                                  3 years
Address of Employer                 PO BOX 91                                                4401 East West Highway,Suite 500
                                    Bladensburg, MD 20710                                    Bethesda, MD 20814-4523
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR            SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $      3,391.00    $     2,272.00
2. Estimate monthly overtime                                                                           $          0.00    $         0.00

3. SUBTOTAL                                                                                              $         3,391.00       $        2,272.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             674.00     $          440.00
     b. Insurance                                                                                        $               0.00     $           98.00
     c. Union dues                                                                                       $               0.00     $            0.00
     d. Other (Specify):                                                                                 $               0.00     $            0.00
                                                                                                         $               0.00     $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             674.00     $          538.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         2,717.00       $        1,734.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $         3,250.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):           pro rata tax returns                                                                $           190.00       $          190.00
                     rent basement                                                                       $         1,000.00       $            0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         4,440.00       $          190.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         7,157.00       $        1,924.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            9,081.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)
          Frank E Villa
 In re    Ana M Villa                                                                         Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,869.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   285.00
                   b. Water and sewer                                                                       $                   185.00
                   c. Telephone                                                                             $                   135.00
                   d. Other See Detailed Expense Attachment                                                 $                   300.00
3. Home maintenance (repairs and upkeep)                                                                    $                    90.00
4. Food                                                                                                     $                   875.00
5. Clothing                                                                                                 $                   285.00
6. Laundry and dry cleaning                                                                                 $                    85.00
7. Medical and dental expenses                                                                              $                    50.00
8. Transportation (not including car payments)                                                              $                   425.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   165.00
10. Charitable contributions                                                                                $                   485.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                    83.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                  $                     0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                 1,330.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 6,647.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 9,081.00
b. Average monthly expenses from Line 18 above                                                              $                 6,647.00
c. Monthly net income (a. minus b.)                                                                         $                 2,434.00
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B6J (Official Form 6J) (12/07)
           Frank E Villa
 In re     Ana M Villa                                                                Case No.
                                                              Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                 Detailed Expense Attachment
Other Utility Expenditures:
gas                                                                                              $    160.00
cable                                                                                            $     95.00
internet                                                                                         $     45.00
Total Other Utility Expenditures                                                                 $    300.00




Other Expenditures:
management fee 5111 Anthony Ave                                                                  $    400.00
prop tax 5111 Anthony Ave                                                                        $    308.00
insur 5111 Anthony Ave                                                                           $     67.00
repairs/maintence 5111 Anthony Ave                                                               $     75.00
water 511 Anthony Ave                                                                            $     60.00
electric & Gas 511 Anthony Ave                                                                   $    335.00
personal care/haircuts                                                                           $     85.00
Total Other Expenditures                                                                         $   1,330.00
                                        Case 13-19106                  Doc 1       Filed 05/24/13       Page 30 of 45
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                        District of Maryland
            Frank E Villa
 In re      Ana M Villa                                                                                     Case No.
                                                                                    Debtor(s)               Chapter     13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      21
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 24, 2013                                                     Signature    /s/ Frank E Villa
                                                                                    Frank E Villa
                                                                                    Debtor


 Date May 24, 2013                                                     Signature    /s/ Ana M Villa
                                                                                    Ana M Villa
                                                                                    Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                          United States Bankruptcy Court
                                                                        District of Maryland
             Frank E Villa
 In re       Ana M Villa                                                                                       Case No.
                                                                                Debtor(s)                      Chapter        13

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                               DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $0.00                             2013: H $16,064 W: 11600
                                                            2012: H:59,400 W: $5270
                                                            2011: H:$60,381 W:0

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $0.00                             rent $4333 calendar month


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              3. Payments to creditors

      None    Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
   OF CREDITOR                                                           PAYMENTS                            AMOUNT PAID                 OWING

      None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                         DATES OF                                  PAID OR
                                                                         PAYMENTS/                               VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

      None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

      None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION

      None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE             PROPERTY




  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                             AMOUNT OF MONEY
NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                      OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                   OF PROPERTY
Law Office of Edward Hanlon, CHTD                                       4/13                                       $1,624.00
5510 Cherrywood Lane
Suite G
Greenbelt, MD 20770



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             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY




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             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                 NAME USED                                    DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

             "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
             operated by the debtor, including, but not limited to, disposal sites.

             "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
             pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                STATUS OR DISPOSITION




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             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                       BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS      ENDING DATES
self-employed                                                                                   renting rooms at 5111   12/11 to present
                                                                                                Anthony Ave, Baltimore,
                                                                                                MD 21206 (only Husband
                                                                                                on Deed and 1st
                                                                                                mortgage) (both
                                                                                                Husband and Wife on
                                                                                                the Home Equity Line of
                                                                                                Credit)

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS



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   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)



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             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                               ******

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date May 24, 2013                                                      Signature    /s/ Frank E Villa
                                                                                    Frank E Villa
                                                                                    Debtor


Date May 24, 2013                                                      Signature    /s/ Ana M Villa
                                                                                    Ana M Villa
                                                                                    Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MARYLAND
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                        District of Maryland
           Frank E Villa
 In re     Ana M Villa                                                                                     Case No.
                                                                                 Debtor(s)                 Chapter        13

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Frank E Villa
Ana M Villa                                                                        X /s/ Frank E Villa                         May 24, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                       Date

Case No. (if known)                                                                X /s/ Ana M Villa                           May 24, 2013
                                                                                     Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
                                                                        District of Maryland
           Frank E Villa
 In re     Ana M Villa                                                                               Case No.
                                                                                  Debtor(s)          Chapter     13




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: May 24, 2013                                                     /s/ Frank E Villa
                                                                       Frank E Villa
                                                                       Signature of Debtor

Date: May 24, 2013                                                     /s/ Ana M Villa
                                                                       Ana M Villa
                                                                       Signature of Debtor




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    Amex
    Po Box 297871
    Fort Lauderdale, FL 33329



    Bank Of America
    Po Box 982235
    El Paso, TX 79998



    Bank Of America, N.A.
    4161 Piedmont Pkwy
    Greensboro, NC 27410



    Charter One Auto Finan
    228 E Main St
    Rochester, NY 14604



    Chase
    Po Box 15298
    Wilmington, DE 19850



    Citi-Bp Oil
    Po Box 6497
    Sioux Falls, SD 57117



    Citimortgage Inc
    Po Box 9438
    Gaithersburg, MD 20898



    Comenity Bank/Dressbrn
    Po Box 182789
    Columbus, OH 43218



    Discover Fin Svcs Llc
    Po Box 15316
    Wilmington, DE 19850
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Enhanced Recovery Co L
8014 Bayberry Rd
Jacksonville, FL 32256



First Horizon Home Loa
4000 Horizon Way
Irving, TX 75063



Gecrb/Gap
Po Box 965005
Orlando, FL 32896



Gecrb/Jc Penney Dc
Po Box 965007
Orlando, FL 32896



Gecrb/Jcp
Po Box 984100
El Paso, TX 79998



Gecrb/Sams Club
Po Box 965005
Orlando, FL 32896



Gecrb/Whitehall
Po Box 981439
El Paso, TX 79998



Homeward Residential
1525 S Belt Line Rd
Coppell, TX 75019



Hsbc Nv
Po Box 5253
Carol Stream, IL 60197
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Lexicon
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Nco Fin /99
Po Box 41466
Philadelphia, PA 19101



Pncbank
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Riggs National Bank
1120 Vermont Ave Nw
Washington, DC 20005



Sears/Cbna
Po Box 6189
Sioux Falls, SD 57117
